836 F.2d 545Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Joseph E. DAVIS, Plaintiff-Appellant,v.MEDICAL COLLEGE OF VIRGINIA, Defendant-Appellee.
    No. 87-7719.
    United States Court of Appeals, Fourth Circuit.
    Submitted Nov. 30, 1987.Decided Dec. 22, 1987.
    
      Joseph E. Davis, appellant pro se.
      Mary Moffett Hutcheson Priddy, McGuire, Woods, Battle &amp; Boothe, for appellee.
      Before ERVIN and WILKINS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      A review of the record and the district court's opinion discloses that this appeal from its order denying relief under 42 U.S.C. Sec. 1983 is without merit.  Appellant's motion for appointment of counsel is denied.  Because the dispositive issues recently have been decided authoritatively, we dispense with oral argument and affirm the judgment below on the reasoning of the district court.  Davis v. Medical College of Virginia, C/A No. 86-282-AM (E.D.Va.  August 31, 1987).
    
    
      2
      AFFIRMED.
    
    